              Case 8:22-bk-01210-CED        Doc 126      Filed 08/26/22      Page 1 of 3




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
                                    www.flmb.uscourts.gov

In re:
                                                      Case No. 8:22-bk-01210-CED
MICHAEL KASTRENAKES,
                                                      Chapter 11
                Debtor.
                                      /

  AMENDED MOTION FOR ADMISSION OF DAVID J. JURKIEWICZ TO APPEAR
    PRO HAC VICE AND ATTACHED DESIGNATION OF LOCAL COUNSEL

         David J. Jurkiewicz of Bose McKinney & Evans LLP, pursuant to Local Rule 2090-1,

moves this Court for admission to appear pro hac vice in this case, and any related adversary

proceedings, as counsel for NextGear Capital, Inc., and states as follows:

         1.     Movant is an attorney licensed to practice law and is a member of good standing of

the state bar in Indiana.

         2.     Movant is also admitted to practice before and is in good standing with the United

States District Court for the Northern District of Indiana, the Southern District of Indiana, and the

Eastern District of Michigan.

         3.     Movant designates Nicolette C. Vilmos, Esq., a resident Florida attorney, of Nelson

Mullins Riley & Scarborough LLP, who is qualified to practice in this Court and who consents to

the designation as local counsel. Local counsel’s written designation and consent to act is attached

as Exhibit A.

         4.     Movant certifies that he has never been disbarred and is not currently suspended

from the practice of law in the State of Indiana or any other state, nor from any United States

Bankruptcy Court, District Court, or Court of Appeals.
Case 8:22-bk-01210-CED   Doc 126   Filed 08/26/22   Page 2 of 3
                 Case 8:22-bk-01210-CED     Doc 126     Filed 08/26/22      Page 3 of 3




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via

transmission of Notices of Electronic Filing on all counsel of record or pro se parties identified on

the CM/ECF service list maintained by the Court on August 26, 2022.



                                              By: /s/ Nicolette C. Vilmos
                                              Nicolette C. Vilmos
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                                              Attorneys for NextGear Capital, Inc.




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